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                                                                       FILED: June 22, 2023

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                          ___________________

                                                No. 23-1661
                                           (8:21-cv-02058-TDC)
                                          ___________________

        JAKE'S FIREWORKS INC.

                      Plaintiff - Appellant

        v.

        UNITED STATES CONSUMER PRODUCT SAFETY COMMISSION;
        ALEXANDER HOEHN-SARIC, in his official capacity as Chairman of the CPSC

                      Defendants - Appellees


        This case has been opened on appeal.

         Originating Court                         United States District Court for the
                                                   District of Maryland at Greenbelt
         Originating Case Number                   8:21-cv-02058-TDC
         Date notice of appeal filed in            06/20/2023
         originating court:
         Appellant                                 Jake's Fireworks Inc.
         Appellate Case Number                     23-1661
         Case Manager                              Emily Borneisen
                                                   804-916-2704
